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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                       District
                                                 __________     of Oregon
                                                            District of __________

                  United States of America                        )
                             v.                                   )
                     Joshua MCGUIRE
                                                                  )      Case No.     3:20-mj-00106
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                          Defendant(s)
                            CRIMINAL COMPLAINT
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         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     May 7, 2020               in the county of                Marion           in the
                       District of            Oregon          , the defendant(s) violated:

            Code Section                                                    Offense Description
Title 21, U.S.C. § 841(a)(1), (b)(l)            Possession with Intent to Distribute Methamphetamine
(A)(viii)
Title 21, U.S.C. § 846                          Conspiracy to Distribute Methamphetamine
Title 18, U.S.C. § 922(g)                       Felon in Possession of a Firearm




         This criminal complaint is based on these facts:
See Affidavit of Task Force Officer Anthony Burke, FBI.




         ✔ Continued on the attached sheet.
         u


                                                                                             Complainant’s signature

                                                                                  Task Force Officer Anthony Burke, FBI
                                                                                              Printed name and title

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Date:             05/08/2020
                                                                                                Judge’s signature

City and state:                         Portland, Oregon                       Hon. Youlee Yim You, U.S. Magistrate Judge
                                                                                              Printed name and title
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DISTRICT OF OREGON, ss: AFFIDAVIT OF ANTHONY J. BURKE


              Affidavit in Support of a Criminal Complaint and Arrest Warrant


       I, Anthony J. Burke, being duly sworn, do hereby depose and state as follows:

                              Introduction and Agent Background

       1.      I am an “investigative or law enforcement officer of the United States” within the

meaning of Title 18, United States Code, Section 2510(7). I am currently employed as a Detective

with the Salem Police and sworn as a Task Force Officer (“TFO”) with the Federal Bureau of

Investigations (“FBI”), and assigned to the Resident Office in Salem, Oregon. I have been a TFO

since February 2020. I am authorized, and presently assigned, to investigate violations of the

Comprehensive Drug Abuse Prevention and Control Act of 1970, Title 21, United States Code, et

seq., and other violations of federal law.

       2.      I am also a Detective with the Salem Police Department (Salem, Oregon) and have

approximately 5 years of law enforcement experience. I have received training through the

Department of Public Safety Standards and Training (DPSST) in the State of Oregon, for the

certification as a police officer in the State of Oregon and I hold an Intermediate Certificate through

this institution. I have had all stages of police training, including crime investigation, acquisition

and preservation of evidence, felony apprehension, search and seizure, and other police

operations. During my law enforcement career, I have participated in hundreds of drug related

investigations and search warrants. I have personally utilized all means available to law

enforcement during the course of an investigation, which includes but is not limited to:

surveillance, informants, undercover officers, video surveillance, photography, pen registers,



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vehicle trackers, wire taps, search warrants, body wires and other physical and technological

investigative means.

       3.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Joshua MCGUIRE for Possession with the Intent to Distribute Methamphetamine in violation of

21 U.S.C. § 841(a)(l), (b)(l)(A)(viii), Conspiracy to Distribute Methamphetamine in violation of

21 U.S.C. § 846, and Felon in Possession of a Firearm in violation of 18 U.S.C 922(g)(1). As set

forth below, there is probable cause to believe, and I do believe, that MCGUIRE committed the

above listed offense.


                                            Applicable Law

       4.      Title 21, United States Code, Sections 841(a)(1) and 846, Possession with the


Intent to Distribute Methamphetamine, provides that it is unlawful to possess with the intent to

distribute methamphetamine, a Schedule II controlled substance under federal law, and to

conspire to do so. Title 18, United States Code, Section 922(g)(1), provides that it is unlawful

for any person who has knowingly been previously convicted of a crime punishable by

imprisonment for a term exceeding one year to possess a firearm that has previously been

shipped or transported in interstate or foreign commerce.

                                     Statement of Probable Cause

       5.      During the course of an investigation that began in April of 2020, Joshua

MCGUIRE (hereinafter referred to as “MCGUIRE”), with a date of birth in 1978, was identified

as distributing methamphetamine in the Salem, Oregon area. Based on the investigation, which

included multiple controlled buys from MCGUIRE, witness statements relating to MCGUIRE and

law enforcement surveillance related to MCGUIRE, investigators with Salem Police Department


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Salem Street Crimes Unit (SCU), applied for and obtained search warrants on May 7, 2020 for

MCGUIRE’s residence at 1614 Chemeketa Street Northeast, Salem, Oregon 97301 (hereinafter

referred to as “Residence”), MCGUIRE’s Dodge Ram 2500, Oregon License Plate Number

845DDH (hereinafter referred to as “Vehicle”), and MCGUIRE’s storage unit located at 4000

Turner Road Southeast, Salem, Oregon 97317 (hereinafter referred to as “Unit”),

       6.     On May 7, 2020 Investigators with SCU and the Federal Bureau of Investigation

(FBI) executed the search warrant on MCGUIRE’s Unit, where the controlled buys occurred

during the course of the investigation. MCGUIRE would refer to the storage unit as his “shop”

where he also kept a vehicle at that he would work on. In their search of the Unit, investigators

seized three thousand, three hundred and ninety-four (3,394) grams of a suspected

methamphetamine, which field tested presumptive positive for the presence of methamphetamine.

Investigators also located a black Sig Sauer handgun with an obliterated serial number. I know

this firearm to have been manufactured outside the state of Oregon. Also located in MCGUIRE’s

Unit were digital scales and packaging material.




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       7.      On the same date, investigators executed the search warrant on MCGUIRE’s

Residence. Prior to the execution of the search warrant, MCGUIRE was detained by officers at

his Residence. Following advisement of his Miranda rights, he made a statement to officers

inferring that they were going to find a bunch of cash. In their subsequent search of MCGUIRE’s

Residence, where he is the sole occupant, investigators seized three hundred and ninety-five (395)

grams of suspected methamphetamine, which field tested presumptive positive for the presence of

methamphetamine. An additional seven (7) firearms that I know to have been manufactured

outside the state of Oregon were also seized from the Residence, along with approximately

$400,000.00 in United States currency.




       8.      I reviewed MCGUIRE’s criminal history and know that he was previously

convicted of the felony of Unlawful Delivery of Methamphetamine in Polk County Circuit Court




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(Case Number 17CR00343) and was sentenced to 18 months in prison, and thereby prohibited

from possessing a firearm.

                                           Conclusion

       9.      Based on the foregoing, I have probable cause to believe, and I do believe, that

Joshua MCGUIRE committed Possession with Intent to Distribute Methamphetamine in violation

of 21 U.S.C. § 841(a)(l), Conspiracy to Distribute Methamphetamine in violation of 21 U.S.C. §

846, and Felon in Possession of a Firearm in violation of 922(g)(1). I therefore request that the

Court issue a criminal complaint and arrest warrant for Joshua MCGUIRE.

       9.      Prior to being submitted to the Court, this affidavit, the accompanying complaint

and the arrest warrant were all reviewed by Assistant United States Attorney Ashley Cadotte.

AUSA Cadotte advised me that in her opinion the affidavit and complaint are legally and factually

sufficient to establish probable cause to support the issuance of the requested criminal complaint

and arrest warrant.



                                                    By Phone
                                                    Anthony J. Burke
                                                    Task Force Officer
                                                    Federal Bureau of Investigations



                                                                                         11:49
       Sworn in accordance with the requirements of FED. R. CRIM. P. 4.1 by telephone at _____
a.m. on May 8, 2020.




                                                    ________________________________
                                                    HONORABLE YOULEE YIM YOU
                                                    United States Magistrate Judge

Affidavit of TFO Anthony Burke                                                             Page 5
